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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

UNITED STATES OF AMERICA                          §
                                                  §    CRIMINAL NO. 2:08CR5
v.                                                §
                                                  §
WENDELLA GENOA WILLIAMS (4)                       §

              FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                   BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

administration of a plea of guilty and allocution under Rule 11 of the Federal Rules of Criminal

Procedure.

         On December 15, 2008, this cause came before the undersigned United States Magistrate

Judge for a plea of guilty and allocution of the defendant on an information charging the defendant

in Count 1 with a violation of 21 U.S.C. § 846, Conspiracy to Possess with Intent to Distribute

Cocaine. After conducting said proceeding in the form and manner prescribed by Fed. R. Crim. P.

11, the Court finds:

         a.      That the defendant, after consultation with counsel of record, has knowingly and

voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

United States Magistrate Judge, subject to a final approval and imposition of sentence by the District

Court.

         b.      That the defendant and the government have entered into a plea agreement which has

been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(e)(2).

         c.      That the defendant is fully competent and capable of entering an informed plea, that

the defendant is aware of the nature of the charges and the consequences of the plea, and that the plea
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of guilty is a knowing and voluntary plea supported by an independent basis in fact containing each

of the essential elements of the offense.

        d.        That defendant understands her constitutional and statutory rights and wishes to waive

these rights, including the right to a trial by jury and the right to appear before a United States

District Judge.

        IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

and the Guilty Plea of the defendant and that Wendella Genoa Williams should be finally adjudged

guilty of that offense.

        A party's failure to file written objections to the findings, conclusions and recommendations

contained in this Report within ten days after being served with a copy shall bar that party from de

novo review by the district judge of those findings, conclusions and recommendations and, except

on grounds of plain error, from appellate review of unobjected-to factual findings and legal

conclusions accepted and adopted by the district court. Douglas v. United States Auto. Ass’n, 79

F.3d 1415, 1430 (5th Cir. 1996) (en banc).


       SIGNED this 23rd day of January, 2009.




                                                       ___________________________________
                                                       CHARLES EVERINGHAM IV
                                                       UNITED STATES MAGISTRATE JUDGE
